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Dispersed Oil Disrupts Microbial Pathways in Pelagic
Food Webs

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Abstract

Most of the studies of microbial processes in response to the Deepwater Horizon oil spill focused
on the deep water plume, and not on the surface communities. The effects of the crude oil and
the application of dispersants on the coastal microbial food web in the northern Gulf of Mexico
have not been well characterized even though these regions support much of the fisheries
production in the Gulf. A mesocosm experiment was carried out to determine how the microbial
community off the coast of Alabama may have responded to the influx of surface oil and
dispersants. While the addition of glucose or oil alone resulted in an increase in the biomass of
ciliates, suggesting transfer of carbon to higher trophic ievels was likely; a different effect was
seen in the presence of dispersant, The addition of dispersant or dispersed oil resulted in an
increase in the biomass of heterotrophic prokaryotes, but a significant inhibition of ciliates,
suggesting a reduction in grazing and decrease in transfer of carbon to higher trophic levels.
Similar patterns were observed in two separate experiments with different starting nutrient
regimes and microbial communities suggesting that the addition of dispersant and dispersed oil
to the northern Gulf of Mexico waters in 2010 may have reduced the fiow of carbon to higher
trophic levels, leading to a decrease in the production of zooplankton and fish on the Alabama
shelf.

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INTRODUCTION

The explosion and sinking of the Deepwater Horizon drilling platform resulted in the release of an
estimated 4.9 million barrels of crude oil and the application of >1.8 million gallons of dispersant
into the waters of the northern Gulf of Mexico (nGOM) [1], [2], [3]. Most of the dispersant (1.07
million gallons) was applied to the surface with the rest applied at depth near the wellhead, This
event stimulated intensive research in the region of the spill in an attempt to characterize the
ecological response and impacts to both the oil and dispersant, especially in the deep water plume
formed near the well head [4], [5], [6], [7].

Although much of the oif remained at depth and was prevented from reaching shore, significant
oiling occurred from Louisiana to the western portion of the Florida panhandle [1], [2], [3], [8]. This
surface slick included both oil] and dispersants, mainly Corexit EC9500A [3], [9], and covered a large
area of the highly productive shelf waters of the nGOM. It is these highly productive waters that
support many of the fisherias that are economically important in the nGOM region [10]. In
particular, the primary production by phytoplankton and consumption of terrestrially derived organic
matter by heterotrophic prokaryotes provide the food and energy at the bottom of the pelagic food
web to support the higher trophic levels.

Several studies have been carried out investigating the effects of oil contamination, sometimes
along with chemical dispersants, on different members of the microbial communities. Often these
studies are carried out on isolates under controlled conditions. The results of these types of studies
highlight the individual response of different species to oi! [11], [12], [13], different dispersants
[14] and the combinations of oil and dispersants [15], [16], [17]. The responses to these additions
are often not additive, with Interactions between dispersants and oil resuiting in larger or smaller
responses than predicted from individual tests [15], [16]. The responses are also often dose
dependent, with larger doses of oll and/or dispersant usually tending towards more toxic effects
{13], [18]. Overall, the conclusions from previous studies suggest that some heterotrophic
prokaryotes benefit and grow well with oil and/or dispersants, while others decrease in activity and
abundance [19], [20], [21]. Small phytoplankton cells, such as Prochlorecoccus and Synechococcus,
were found to be more sensitive to contaminants than larger diatorns, but cultured isolates
appeared to have higher tolerances compared to natural communities [13]. Studies of protists

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suggest that these organisms response positively to ofl contamination, likely in response to
increased prey [22], but the effects of dispersants are not well characterized,

One issue with using isolates or measuring individual group responses to oil and/or dispersants is
that in the environment, the different groups are linked through complex direct and indirect
interactions. A few studies have taken a wider approach and used large volume incubations to
characterize the response of several different functional groups to oil, dispersant and/or dispersed
oil to characterize how the whole food web responds to contamination. These studies have used
static mesocosms [23], [24], [25] and flow through systems [26] to characterize phytoplankton,
zooplankton, protist, prokaryote and, in one case, benthic [27] responses to contamination.
Remarkably, although these studies were carried out from the Baltic to subtropical environments in
Asia, similar patterns emerge. Phytoplankton appear to be strongly inhibited by dispersed oil, with
the addition of dispersant alone having little effect compared to contro! samples [23]. Oi! alone
tends to decrease phytoplankton abundances or cause shifts in the community, but generally only at
higher concentrations and in the absence of nutrient limitation [18], [24], [25], [27]. In all
instances, prokaryote abundance increased in response to additions of oil, dispersant or dispersed
oil, suggesting that all three treatments provide increased organic carbon that can be utilized by the
prokaryote community. This often translated into higher number of heterotrophic flagellates [23],
[24], suggesting this group responded to increased prey abundance. All treatments also appeared to
have a consistent detrimental effect on mesozcoplankton, with the largest effects on copepods [18],
[24], [27]. As this group represents the link between the microbial food web and higher trophic
levels, the loss of mesozooplankton would have a profound impact on the potential for fish
production,

The previous studies were carried out in several different locations; however, the temperatures in
most of these studies were <20°C, The surface slick in the Gulf of Mexico during the summer of
2010 would have experienced significantly higher temperatures, 25-30°C, which may alter the
response of the microbial community to the influx of oil and dispersants during the Deepwater
Horizon spill, We used a mesocosm approach to characterize the response of the microbial food web
in the waters of the Alabama shelf to the input of ofl and application of dispersants during the
Deepwater Horizon oif spill. Using large volume incubations, we were able to ask how oil, dispersant
and dispersed oi] may have influenced the cycling of carbon between viruses, prokaryotes,
phytoplankton and microzocplankton.

METHODS

Mesocosm incubations were carried out in early (lune) and fate (August) summer 2011 at the
mesocosm facility at the Dauphin Island Sea Lab. Five 200 ij barrels lined with Teflon bags were each
placed in five 2000 | tanks (25 barrels total). Each barrel had large holes cut in the side to allow
gentle mixing by flowing water in the large tank. In the middle of each barrel a pipe extended to
mid-water depth, with an air bubbler at the bottom to prevent stratification and hypoxia. Samples
were collected using a peristaltic pump and Teflon tubing inserted into the center tube, thereby
avoiding disturbance of the surface layer of the mesocosms. The mesocosms were protected from

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direct sunlight by a roof, although the sides of the facility were open. Some lighting around the
structure prevented complete darkness, but the use of bright overhead lights directly over the
mesocosms was restricted,

Water was pumped into the mesocosms through an intake tube extending south of Dauphin Istand.,
The mesocosms were filled at high tide and water was continually flowing in the large tanks to help
maintain fn situ temperatures. In June, the mesocosms were filled ~6 h before the start of the
experiment, while in August, they were filled ~24 h before the start. The intake for the system has
a 6.35 mm screen to exclude large organisms.

Five different treatments were applied with 5 replicates of each treatment, one per large tank.
These included a no addition control (Control), the addition of 3.0 mM of carbon as glucose as a
carbon addition control (Glucose), the addition of dispersant (Corexit 9500A)} representing ~0.7 mM
of carbon (Dispersant), the addition of MC 252 oii (Oil) representing 30 m™ of carbon and the
addition of both ojf and dispersant together at the same concentrations as above (30.7 mM carbon,
Dispersed Oil). The dispersant was added in a 1:20 v/v ratio to the oil. All the additions were
completed in 35 to 45 m with t = 0 set as the time the last compounds were added. Approximately
2 h before the addition of the compounds, samples were collected from 5 of the 25 mesocosms,
Subsamples for biomass were collected over 5 d, with more intense sampling occurring earlier in the
experiment. Before additions and at 1 and 3 d after additions short incubations were run to measure
cell growth rates and virus production. In August, one of the Teflon bags in the Dispersed Oil
treatment developed a leak, resulting in mixing with the surrounding water. This mesocosm was not
included in any of the analyses, resulting in n = 24 for this experiment.

Physical Parameters

The temperature (°C), salinity (ppt) and dissolved oxygen (DO, mg I”*) in each mesocosm were
measured daily using a YSI Pro2030 handheld probe. The probe was cleaned following exposure to
oil and dispersed oil according to the protocols from YSI. The data from t = 0 in June was accidently
deleted before being recorded, so data presented below represents t = 1 d. Water characteristics
were measured at approximately the same time every day.

Nutrient Concentrations

The concentration of NO2”, NO3", NH,*, TDN and PO,~? were determined for 5 mesocasms at t = 0,

and all mesocosms at all subsequent time points. Samples were pumped from the central tube
directly into an acid-washed collection bottle, The water was then filtered through pre-combusted
(500°C for 4h) 0.7 pm Whatman GF/F filters, and dissolved nutrients determined in the filtrate.

Total dissolved N (TDN) was analyzed by persulfate oxidation [28], [29], NO3 by the spongy
cadmium (Cd) method, and NO2” and PO4*” were measured on a Skalar SAN+ nutrient autoanalyzer

[30]. NHs” was determined using sodium hypochiorite and fluorometric detection [30]. During

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analysis, the conversion of NO3” to NO2” by Cd catalyst was monitored and columns regenerated if

reduction efficiency was <97%,

Characterization of Oil and Dispersant Droplieis

To determine the relative abundance of oil and dispersant droplets, samples were collected for
analysis by a FlowCAM (Fluid Imaging Technologies, Yarmouth, ME}. Samples (1 ml) from each
mesocosm were prescreened through a 125 um mesh and imaged in a 100 um deep flow cell using

a 10x Olympus UPlan FLN infinity objective lens. The flow rate was 0.5 mis”! with data collected
using the auto-triggering setting. Raw data was filtered to count particles between 3 and 20 um with
a circle fit of 0.9 to 1 and a compactness window of 1.0 to 1.5. The filter (combining size and shape)
was determined empirically from examination of multiple off and dispersant data sets and then
applied to the images collected for ail treatments.

Biomass Measurements

At each time point samples were collected to determine the abundance of viruses, prokaryotes,
diatoms, dinoflagellates, cillates and heterotrophic nanoflagellates (HNFs). Samples for viruses and
prokaryotes were fixed in 0.5% final concentration of EM grade glutaraldehyde and flash frozen in
liquid nitrogen within 30 m. Samples were stored at —80°C until analysis with flow cytometry [31],
[32]. Briefly, samples were thawed in smal! groups at 37°C then diluted with filtered TE (100 for
viruses and 16x for prokaryotes) [33], [34]. Virus samples were stained with SYBR Green (1:20
GOGO final dilution) for 10 m at 80°C and then run on a FACSCalibur flow cytometer (BD Biosciences,
San Jose, CA), Prokaryotes were stained for 15 m at room temperature and data collected for 3 m.
Yellow-green i um beads (Polysciences, Inc.) were added to each sample as an internal quality
control, Counts were obtained over a specific time (2 m) and converted to abundances using the
empirically determined flow rate for the medium setting. FSC files were imported into GateLogic
(Inivai Technologies, Mentone, Australia) and analyzed to determine the abundance of viruses or
prokaryotes using optimized gates. Smal] adjustments of the gates were made by eye as the
prokaryote populations occasionally shifted. The abundance of cells or viruses in each gate was

converted into I”! estimates using the measured flow rates and the time of data collection. Using

i

average estimates of 30 fg C cell”? and 0.2 fg C virus”?, abundances were converted into pg C17?

[35}.

Samples were collected for analysis of phytoplankton and ciliates in a glass jar. These sampies were
preserved with acidic Lugol's and counted using an inverted microscope [36]. For each sample, il
ml was settled in a chamber slide for 45 min before being counted under a 40x objective with an
ocular grid. Dinoflageilates, diatoms and ciliates were counted separately, although not identified

further, and counts converted to cells I7'. In June, HNFs were fixed in 0.5% EM grade
giutaraldehyde for 30 m and then filtered onto a black 0.8 um polycarbonate filter, stained with

DAPI (0.005 mg ml7+), mounted on a slide and stored at —20°C until counting on an Olympus B-2
microscope under UV light using a 40 objective. In August, the flagellates were preserved in

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alkaline Lugol's with buffered formaldehyde and a higher concentration of DAPI was used (1.0 mg

mi~') [37]. All flagellate counts were converted to cells 17’. For the dinoflagellates, diatoms, ciliates
and HNFs, several cells were measured to obtain an average volume based on standard geometric
shapes. No corrections were made for shrinkage of cells, therefore volumes are minimum estimates.
Volumes were used to calculate an average carbon/cell estimate to change cell numbers into pg C

Iv? [38].

At the beginning and end of each experiment, samples were filtered to obtain mesozooplankton
abundances, Because of the limited volumes, all replicates were pooled at the end. Analyses of the
samples from the beginning of the experiments suggest that the abundance of zooplankton was
close to or below detection Jimits, and were unlikely to piay a major role in these incubations.

Prokaryote Growth and Virus Production

To determine the growth rates of prokaryotes and rates of virus production simple dilution
incubations were carried out in paraltel to the large mesocosms. These experiments were performed
att = 0, i and 3d. Prior to filling the mesocesms, 20 | of water was collected from the intake pipe
and filtered through a 142 mm Q.7 jim aiass fiber filter followed by a 142 mm 0.2 um Durapore
filter (Millipore) to remove cells. The water was then passed through a 30 kDa tangential flow filter
(Pall Corporation, Port Washington, NY) and the cell and virus free filtrate was collected. For the
incubations, 5 mi of sample was collected from each mesocosm and added to 45 mi of the filtrate in
polyethylene bags with wire closures (Fisherbrand). Sub samples were collected at 0, 3 and 6 h and
processed as described above for prokaryote and viruses abundances. Growth and virus production
rates were calculated from the regression of In(cell number or virus number) vs time over 6 h.
Regressions with p-values<0.1 were considered significant.

Data Analysis

The initial characteristics of the mesocosms were compared between June and August using
nonparametric Welch tests. Values for t = 0 were used for nutrient concentrations and biomass
abundances. For temperature, salinity and DO, comparisons were carried out using data from the
Control mesocosms collected att = id.

The effects of treatment on physical characteristics, nutrients and the abundance of different groups
of microbes were determined using the multivariate repeated measures analyses based on the
MANOVA function in IMP 9.0 (SAS Institute, Inc.}. Significant between-subject effects represented
different effects of the treatment which was further investigated using the Canonical Centroid Plot to
identify which treatments were significantly different from each other. Within-subject analyses were
investigated to determine if the interaction between time and treatment was significant. Significant
tests, based on the Pillai's Trace value, were further investigated using the Canonical Centroid Pilot
to determine if the treatments had different effects over time.

The effects of the treatments over time on the contributions of the six microbial groups to the total
community were analyzed using analysis of similarity (ANOSIM) in Primer 6 (Primer-E). Biomass

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estimates (ug C Iv?) were fourth root transformed and a Bray-Curtis similarity matrix generated for
each mesocosm att = 0, 1 and 3d. A two way-crossed analysis using Treatment and Time was run
for each experiment separately. If Global R values for either Treatment or Time were determined to
be significant (R>0.3 and p<0.05), then pairwise comparisons were carried out to determine which
times or treatments were different. Pairwise tests were significant if R>0.3 and p<0.017 (Time) or

<0.006 (Treatment). Large values of R indicate significantly different communities.

RESULTS

The starting conditions for the two experiments differed in terms of the community composition
(biomass of different groups) and nutrient status (Table Si). The June community had a larger
biomass of primary preducers, both diatoms and dinoflagellates, compared to the large contribution
of heterotrophic groups to the biomass in August (Figure Si). Based on nutrient concentrations and

the N:P ratio, the June community was PO4”* limited at the start of the experiment, while the

August community did not appear to be nutrient limited.

Mast of the oil added to the mesocosm remained on the surface as a slick. The low mixing of the off
into the water column resulted in dissolved organic carbon (DOC) concentrations in the OH
treatments that were similar to the Control treatments over time. The highest DOC was measured in
the Glucose treatments while the Dispersant and Dispersed Oil were similar, but Jower than the
Glucose addition (Figure 52). The dispersed ofl was completely mixed in the mesocosm after 6 h,
with only a small amount of slick visible on the surface. The water samples from this treatment had
a distinctive yellowish color and small droplets were visible on HNF and protist slides, FlowCAM
analysis clearly shows significant difference in the number of small, spherical particles present in the
Dispersed Oil treatment compared to all other treatments (Figure 1), indicating good dispersion of
the oil.

14000 4 A -~@— Control Figure 1. Number of spherical particles 3-

. 12000 + peas 20 pm in diameter in each treatment over

“1 to000 + on time.

& sooo a Dispersed Oil

ib June {A} and August (B) both show a rapid

2 G00 - increase in particles in the Dispersed Oil

& 4000 ~ Kk treatment at t = 1 d, with a decrease overtime.
2000 + YP gg This decrease was likely due to small particles

0 &F o ’ o , clumping together and becoming larger than 20

14000 - B um. Small differences were observed for the

_ 12000 - + other treatments, but they were not

_ 16000 significantly different from each other.

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The biomass of the six different microbial groups changed over time, with significantly different
patterns due to treatment effects (Table S2). The distribution of carbon between these groups
changed over time as the community structure changed (Figure 2). Generally, the patterns
observed in the Glucose and Oil treatments were more similar to the Control treatment, while the
patterns in the Dispersant and Dispersed Oil treatments were more similar to each other (Figure 2).
The main observation in both June and August was a decrease in the biomass of prokaryotes in the
Control, Glucose and Oi! treatments with an increase in the Dispersant and Dispersed Oil (Figure
S3). Dinoflagellates and diatoms decreased in all treatments in both experiments over the course of
5d; however the decreases were more rapid in the Dispersant and Dispersed Oil treatment and
transient increases were detected in Control, Glucose and Oil treatments in June (Figure 54).
Citlates, which were low at the start of the experiments, significantly increased in the Glucose
treatments, with smaller, but significant increases in the Of and Contral treatments at the same
time. The peak in June was detected at 2 d compared to 1 d in August. In June, the biomass of
HNFs was jow compared to August and remained low throughout the experiment with no significant
effects of treatment (Figure $5). The August experiment started with a very high biomass of HNFs
which decreased rapidly by 1 d, but this group represented a large proportion of the microbial
biomass throughout the experiment. Significantly more HNFs were detected in the Oif treatments
compared to the Dispersed Oijf treatments, although neither treatment was significantly different
fram the Controis.

Figure 2. Distribution of carbon in the six
microbial groups over time for each of the
z ge Beg ae we EE . Fi - uly] five treatments.

0 Lathitlucllili © MTL an aH Values shown are averages for the five

° oe so — "replicates. Values from the June experiment are
| shown on the left for Prokaryotes and Viruses
(A), Dinoflageliates and Diatoms (C} and

ol Ciliates and HNFs (€}. August values on the

“iy lk ly Po hen, coo. Bl right (B, D and F). In June (E), HNF values
all diy bi. divluivtlucs, (Udualifantlivellgenlaaw. were not obtained at t-2 and 5 d, but all data

wae
wE pF

was collected for August (F).

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ANOSIM analysis using the six different groups and three time points indicated significant effects of
both time and treatment on community structure (Table 1). The community structure in all
treatments changed rapidly, with little simHllarity between the communities at 0 and 3 d. Changes in
the community structure were also affected by the treatment. Over time, the community structure
in the Dispersant and Dispersed Oil treatments were not significantly different from each other, but
both communities differed significantly from the communities in the Control, Glucose and Oij
treatments. In August, the Control, Glucose and Oil treatments did not result in significantly
different community structures, but significant differences were detected between the Giucose and
Oi treatments in June (Table 1).

Table i. ANOSIM resuits from a two-way

June August

crossed analysis testing the effects of
a pvalue ® prvalus treatment and time on the community
Time, Global B 6.84 0.901 0.92 Of)
Odve Td o.84 $.008 0.99 0.008 structure.
Gdvsdd 1.00 0008 1.00 cK doi: 10.137 1/journal.pone.0042548,t001
tdvedd 0.80 6.601 6.90 G.001
Treatment, Global R 0.50 O01 AS B.001
Contra vs Ghitase | 0.27 0.018 9.43 G.161
Contrat vs Cll O15 OGTZ 0.46 G57
» Conttal vs Dispersant 90.88 Godt a.6R  .00T.
Contral vs Oispessed OH O75 0001 0.66 6.092
Glucose vs.C "953° Qogr -9at 9,018
Glucose vs Dispersant 0.76 Oddy G.67 0.001
Glucose vs Disparsed oil 0.73 0.001 8.74 O05}
OU vi Giepersany o.99 O01 0.67 O01
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Dispersant vs Dispersed? OF 0.394 OA107 0.03 0,505

Global H values represent the overall signiicance of the test for ether Ume or
treatment while gainwise & values indigwhe vehich factars diffeced, Large B vatins
inalicate more cferences between communities, while eal tH valees Indicate
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At three time points (t = 0, 1 and 3 d) incubations were carried out to measure the prokaryote
growth rate and virus production rate. Growth in June at t = 0 was significantly lower than in
August, but growth rates att = 1 and 3 d was higher in all treatments in June compared to t = 0
(Figure 3A), The highest growth rates in June were detected in the Glucose treatment, however
growth was stimulated in all treatments compared to t = 0. In August, only the Control treatments
were equal to the t = 0 rate, with all other treatments significantly lower at 1 and 3 d. In June, low
rates of virus production were detected at t = 0, with significantly higher rates detected in the
Control and Glucose treatments at 1 d (Figure 3B). A similar pattern was seen in August; although

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no virus production was detected at t = 0, low rates were detected at 1 din the Control, Glucose
and Oil treatments. No virus production was detected in the Dispersant or Dispersed Oil treatments,
with virus loss commonly detected at 3 d in all treatments.

t

0.30» .
A Figure 3. Prokaryote growth rates (A) and
0.25 - a virus production rates (B) from
Eb a9 @ : incubations at t = 0, 1 and 3 d.
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© ois | ° ; } Values presented are the slope (h~') from the
x , a apes . .
= eo eel regression of in(abundance) vs time (p<0.1),
o : AE y . : .
= 0.10 L - & with the standard error of the estimate. Solid
tm Bi a . t
oot = . 8 ¥ = [ ° 3 circles are from June and open circles are from
6 “ 2 August. Missing symbols in the virus production
6,08 . — ¥ T T : : 2 + tpt ‘
as plot indicate non-significant regressions.
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Sample Treatment and Time

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Although the concentration of DIN and PO, °? were significantly different at the start of the June

experiment compared to August (Table $1), similar patterns in nutrient usage were detected in both
experiments (Figure 4). There was a significant effect of the addition of all substrates on the

utilization of both DIN and P04? compared to the Control (Table $3), In the Control treatments,

DIN and PO”? increased over time, while they decreased in all of the other treatments. There were

some differences in the rates of drawdown of nutrients, with significantly slower decreases in the Oil
treatments. The N:P ratio decreased in all treatments, with changes in the Control treatments due

to differences in regeneration rates of DIN and POs”?. In the other treatments, higher utilization of

DIN compared to PO,7? resulted in iower N:P ratios.

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4 . Figure 4, Concentration of PO,~* (A, B),

total DIN (NOz2~+NO3"+NH4", C, D) and

PEO send e
. . mbes s NiP (E, F).
6 ° June (A, C and E) and August (B, D and F)
go geet > *) showed similar patterns even though the
* " oe Ny . starting conditions were different. Error bars
yer. beevornm—nie 24 are standard deviations of the means.
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DISCUSSION

The similar patterns of biomass change and nutrient utilization in the two experiments suggests that
there are distinct differences in how these additives are perceived by the planktonic microbial
community. The dispersant-associated carbon that enters the food web is not equivalent to carbon
in the form of glucose or even oil alone. The changes in the community structure, either because of
exploitation or toxicity effects, likely have significant effects on higher trophic levels including
fisheries production,

Compared to the Control treatment in which no additions were made, few changes in the community
structure were observed when glucose or oil] was added, The lack of strong ecosystem effects of oi]
may be due to the decreased bioavailability of the oil throughout the water column compared to
studies that used the water accessible fraction (WAF) [24] or higher concentrations of oi] (>1000
ppm) [18]. Most of the oil added to our mesocosms remained as a slick and slowly mixed into the
water column. Thus, although we added the oi! at S500 ppm, oil concentrations were likely higher in
the upper portion of the mesocosms. Large, short-term effects have been correlated with higher oil
concentrations that was present in our experiments (>1000 ppm, {18]), therefore exposure to lower
concentrations may have reduced potential toxic effects or delayed any impacts beyond the
timeframe of the experiments. In contrast to what was experienced during the Deepwater Horizon
incident where multiple pulses of oil moved over the Alabama shelf [39], the communities in our
experiment were exposed to a single dose of oil over a short time. Multiple exposures to oil alone, or
with dispersants, would likely result in the microbial community responding more strongly than
measured in the experiments described here.

Although patterns in biomass changes were consistent over the course of the experiment in the
Control, Glucose and Oil treatments (Figure 3), differences in the nutrient concentrations suggest
that different biochemical and metabolic processes were occurring (Figure 4). The increase in DIN

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and PO, 7 in the control treatments suggest that the microbial community was remineralizing
organic matter and releasing inorganic nutrients, The mortality of dinoflagellates, diatoms and HNFs
may have provided the organic matter necessary for the prokaryotes to grow, In treatments where
glucose or oil was added, a strong decrease in the concentrations of inorganic nutrients suggests the
communities were utilizing the C-rich substrates. The higher growth rates of prokaryotes detected
when glucose was added suggest that glucose was a more easily utilized compared to the oil. The
lag in the drawdown of nutrients in the Oil treatments, along with a lag in an increase in growth rate
in June, may indicate that organisms capable of utilizing the oil were at low abundances, and did not
begin to efficiently use the substrate until 2-3 days into the experiment.

In the oi] and glucose treatments, the additional carbon added appears to be transferred to the
ciliates, based on a decrease in the prokaryote biomass and an increase in the ciliate biomass, even
as the growth rates suggest actively growing prokaryote communities. Based on the estimates of
cell growth, the biomass of prokaryotes in the glucose treatment should have been higher than any
other treatment, so coupling between growth and grazing must have been strong. Estimated growth
rates of prokaryotes in the oil treatments were lower than in the control and glucose treatments, but
the larger decrease in prokaryote biomass along with an increase in ciliate biomass suggests grazing
by microzooplankton was still an important process, In these experiments, it appears that grazing
exceeded growth and was a more important process than viral lysis in controiling the abundance of
prokaryote cells.

Dispersant treatments, with and without oil, had significant effects on the biomass of most of the
microbial groups compared to both the control and the addition of glucose and oil alone. The most
immediate impact was observed with the eukaryotes, with significant decreases in dinoflagellates
during June and in diatorns and ciliates in both experiments. The magnitudes of the impacts were
not identical; suggesting that some of the responses observed with dispersed oil was due to the
interaction between the oil and dispersant on food web dynamics. The largest positive impact was
on the biomass of the prokaryotes. The decrease in nutrients and positive growth rates suggest that
the prokaryotes were able to use the dispersant and dispersed oil as a carbon source and that
increased biomass could be due to reduced grazing by ciliates and dinoflagellates. Virus production
was not detected in either dispersant treatment at any time, suggesting viral lysis was not a factor
in these incubations. The slight increased carbon in viruses in dispersant treatments suggests that
mechanisms responsible for the removal of viruses were disrupted by the addition of dispersant and
dispersed oil. One possibility is that protists are grazing on viruses in this system and the decrease
in ciliates, dinoflagellates and HNFs may have reduced removal of viruses [40]. Alternatively,
viruses may be removed by binding to other particles (i.e. sediment, cells) and the addition of
dispersants may alter the interactions between these particles and viruses,

The increase in prokaryote biomass and the negative impact of dispersed oil on the phytoplankton
communities agrees with previous studies, but the strong response to dispersant alone is novel, [n
agreement with previous studies, we detected an impact on phytoplankton and non-flagellate
protists in our incubations with dispersed off [23], [25], [27]. A consistent response of the microbial
community to dispersed oil appears to be an uncoupling in the transfer of energy through grazing

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and the reduction of primary production. In the previous studies, increases in HNFs were detected,
which may have been responsible for grazing some of the increased prokaryote biomass [23], [27].
In our study, the ciliates appeared to be the dominant grazers in the community, and the HNFs did
not appear to respond positively or negatively to any of the treatments. The negative response of
phytoplankton and ciliates in our experiments differs from a previous study that detected no effect
of dispersant alone on these groups [23].

The difference in the response may be due to differences in the dispersants used, Corexit 9500 in
our study compared to Corexit 9527 in the previous study [23] or the difference in temperature in
the studies, In the previous study, large (~63 000 |) floating mesocosms were used to characterize
the effects of Corexit 9527 by itself and with Alaskan crude oil. In the dispersed oif treatment,
decreases in phytoplankton and zooplankton were detected compared with a no addition contral,
with increases in prokaryotes and flagellates. In the dispersant only treatment, the only difference
between the treatment and control was a small increase in the prokaryote activity and abundance.
Different formulations of dispersants have been shown to have different effects on isolates in culture
[14], so it is not unexpected that whole microbial communities may respond differently to different
dispersants. It is also possible that the higher temperatures in our study (~30°C) compared to
Saanich Inlet, BC, Canada (~12~15°C}) may have resulted in different interactions between the
dispersant and the microbial cells. In a study looking at the interaction between dispersed oil at low
temperatures (~—1.6°C), high settling of off and poor dispersion was observed [26]. This suggests
that temperature would affect how dispersants might interact with the oil, water column and the
organisms in it.

The results of these mesocosm studies have implications for higher trophic levels dependent on the
pelagic microbial food web. These incubations suqgest that the application of dispersanis results in a
shift in the structure of the microbial community which could interrupt the functioning of the
microbial food web (Figure 5}. In turn, these alterations to trophic pathways could act as a shunt,
diverting carbon from higher trophic levels. The addition of dispersant and dispersed oil resulted in a
rapid decrease in the biomass of primary producers, especially for diatoms. A large negative impact
on primary producer biomass would decrease the carbon availabie to larger microzocpiankton and
the mesozooplankton that graze directly on phytoplankton. While glucose and oif additions resutted
in an increase in heterotrophic prokaryote growth rates this increase in biomass appeared to be
transferred to higher trophic levels through classical food web mechanics. However, a bottleneck
results in the transfer of energy due to dispersants, resulting in an increase in heterotrephic
prokaryote biomass, The fate of this trapped carbon is likely release through respiration, decreasing
the overall energy of the system. Understanding the responses of microbes to dispersant-mediated
changes to the food web structure is essential in interpreting management responses to future spills
and fisheries resources in coastal regions.

lass rooiasston Mesncauplaniice AAag supige ist Figure 5. The effects of different DOC
sources on the microbial food web.

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Ne The addition of Glucose or Oil rapidly decreases

N+P, increasing the biomass of heterotrophic
prokaryotes, resulting in a large increase in
ciliates and a predicted transfer of biomass to
mesozooplankton. Addition of Dispersant or

Dispersed Oil also results in an increase in

yv

heterotrophic prokaryotes and a drawdown of
N+P, but this biomass does not result in a
ciliate response and transfer to higher trophic levels is blocked. In the Control, organic matter is
remineralized, releasing N+P, and some biomass from the heterotrophic prokaryotes transfers

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through ciliates to mesozooplankton.

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SUPPORTING INFORMATION

Figure Si.

Biomass of the six microbial groups at t = 0 in June and August. Means with standard
deviations are shown.

(TIF)
Figure $2.

Concentration of DOC in the mesocosms over time. Mean DOC concentrations with standard
deviations are shown for each treatment over time for June (A) and August (B).

(TIF}
Figure $3.

Biomass for prokaryotes (A/B) and viruses (C/D) over time, by treatment. Means and
standard deviations are shown for each treatment for June (A/C) and August (B/D).

(TIF)
Figure $4,

Biomass for dinoflagellates (A/B) and diatoms (C/D) over time, by treatment. Means and
standard deviations are shown for each treatment for June (A/C) and August (B/D).

(TIF)

Figure SS.

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Biomass for ciliates (A/B) and HNFs (C/D) over time, by treatment. Means and standard
deviations are shown for each treatment for June (A/C) and August (B/D},

(TIF)
Table $1.

Means and standard deviations for the starting conditions for the two experiments along
with the p-value from the non-parametric Welch test.

(DOCX)
Table $2.

P-values from MANOVAs carried out comparing the biomass of each group using
Treatment as the factor and repeated measures analysis with time.

{DOCX}
Table S3.
P-yalues from MANOVAsS carried out as above for nutrients.

(DOCX)

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and J, Daniel.

AUTHOR CONTRIBUTIONS

Conceived and designed the experiments: ACO AGM RHC. Performed the experiments; ACO JA NS
LG AGM RHC, Analyzed the data: ACO JA NS LG AGM RHC. Contributed reagents/materials/analysis
tools: ACO AGM RHC. Wrote the paper: ACO JA NS AGM RHC.

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